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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )                     8:08CR248
                                                   )
         v.                                        )       ORDER SETTING CASE FOR TRIAL
                                                   )
LUIS MARTINEZ-ESPINOZA,                            )
CHRISTIAN MORALES-REYES,                           )
                                                   )
                          Defendants.              )

         This matter is before the court on the motion to continue by defendant Christian Morales-Reyes
(Morales-Reyes) (Filing No. 19). Morales-Reyes seeks a continuance of the trial of this matter. Morales-
Reyes has submitted an affidavit wherein he represents that he consents to the motion and acknowledges
he understands the additional time may be excludable time for the purposes of the Speedy Trial Act (Filing
No. 20). Upon consideration, the motion will be granted.


         IT IS ORDERED:
         1.       Morales-Reyes’s motion to continue trial (Filing No. 19) is granted.
         2.       Trial of this matter is scheduled for September 29, 2008, before Chief Judge Joseph F.
Bataillon and a jury. The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of the
granting of the motion, i.e., the time between August 26, 2008 and September 29, 2008, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the reason
that defendants’ counsel require additional time to adequately prepare the case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


         IT IS FURTHER ORDERED:
1.       Notice

         •        The above-captioned criminal case is set for trial before the Honorable Joseph F. Bataillon,
                  Chief Judge, United States District Court, at Omaha, Nebraska, commencing at 8:30 a.m.
                  on September 29, 2008.

         •        The Court will give no further notice other than telephone notice of the date and hour the
                  trial will begin.

2.       Requests for Continuance

         •        Continuances must be requested within one week of this order in written motions
                  accompanied by supporting affidavits.

         •        A copy of any request for continuance must be filed and Magistrate Judge Thomas D.
                  Thalken’s chambers notified.
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3.       Pretrial Motions

         •          Counsel must immediately notify the Court of any pretrial motion requiring an evidentiary
                    hearing outside the presence of the jury.

         •          Motions must be written and accompanied by supporting affidavits that conform to the rules
                    of this court.

4.       Change of Plea

         •          Counsel must inform Magistrate Judge Thalken that a defendant has elected to change his
                    or her plea within five days before trial or as soon as practicable.

5.       Delivery of Required Submissions

         •          The government shall file and serve on opposing counsel at least five working days
                    before the first day scheduled for trial, as appropriate, all proposed jury instructions,
                    trial briefs, suggested verdict forms, proposed findings of fact and conclusions of
                    law, and witness lists. The procedure for the submission of exhibits is set forth
                    below.

         •          The defendant is encouraged also to submit to Chief Judge Bataillon’s chambers at least
                    five working days before trial proposed jury instructions, a trial brief, discovery material to
                    be used at trial, and an exhibit notebook. Any materials so submitted shall not be disclosed
                    to the government unless the defendant specifies otherwise.

         •          A party’s witness list must include the full name and address of each witness whom the
                    party may call to testify at trial.

         •          Parties are encouraged to submit proposed jury instructions on disk.

6.       Exhibits

         •          All exhibits must be pre-marked with stickers that indicate whether the government or the
                    defendant is offering the exhibit.

         •          The government’s exhibits shall begin with the number “1” and shall be numbered
                    consecutively. If the government’s last exhibit is a two-digit number (e.g., “34”), the
                    defendant’s first exhibit number shall be “100.” If the government’s last exhibit number is
                    a three-digit number, the defendant’s first exhibit number shall be a three-digit number
                    rounded up to the next hundred. Thus, if the government’s last exhibit number is “134,” the
                    defendant’s first exhibit number would be “200.”

         •          Exhibits must be listed before trial on exhibit forms available from the Clerk’s office or on our
                    web page at www.ned.uscourts.gov (Forms).

         •          The courtroom deputy will take custody of the exhibits after they are received by the court.

         •          Parties must deliver to Chief Judge Bataillon’s chambers at least five working days before
                    the first day scheduled for trial copies of all exhibits in a three-ring binder organized for use
                    by dividers or tabs.

7.       Discovery Material Used as Evidence at Trial


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         •       If a party will use a deposition at trial, the proponent must supply the Court with a copy of
                 the deposition. If less than the whole deposition will be used, the copy must highlight the
                 portions to be introduced. The proponent must also supply the Court with a list or index
                 identifying by page and line the portions to be introduced. If a party objects to the
                 introduction of deposition testimony, that party must supply the Court with a list specifying
                 the precise nature of each objection and identifying its location by page and line.

         •       If a party intends to use testimony in a videotaped deposition and the opponent objects to
                 any portion of it, the proponent must supply the Court with a transcript of the testimony from
                 the deposition. The transcript must highlight the portions of the testimony to be introduced.
                 The proponent must also supply the Court with a list or index identifying by page and line
                 in the transcript the portions to be introduced. If a party objects to the introduction of
                 videotaped deposition testimony, that party must supply the Court with a list specifying the
                 precise nature of each objection and identifying its location in the transcript by page and
                 line.

8.       Conduct of Trial

         •       Chief Judge Bataillon will meet with counsel at 8:30 a.m. in chambers on the first day of trial.

         •       Each day of trial will begin at 9:00 a.m. unless Chief Judge Bataillon directs otherwise.

         •       Questioning of witnesses will be limited to direct examination, cross examination, and
                 redirect examination unless Chief Judge Bataillon allows further examination.

9.       Voir Dire

         •       Chief Judge Bataillon will conduct an initial general voir dire of the prospective panel.

         •       Counsel will be allowed to conduct follow-up voir dire in areas not covered by the Court’s
                 examination or in an area which may justify further examination in view of a prospective
                 juror’s response during the Court’s voir dire.

10.      Witnesses

         •       Witnesses who do not appear to testify when scheduled will be considered withdrawn. The
                 trial will then proceed with the presentation of any remaining evidence.

11.      Equipment Available

         •       The ELMO evidence presenter is available in Chief Judge Bataillon’s courtroom.
                 Please notify the courtroom deputy prior to trial if you plan to use the ELMO and
                 also if you need to schedule a time for training. Please give as much notice as
                 possible. More information is available on the web at www.ned.uscourts.gov (Court
                 Technology).
         •       2 Large screen TVs
         •       VCR
         •       Illustrator Pad/Printer
         •       Overhead projector
         •       Easel
         •       Headsets for the hearing-impaired




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12.   Interpreters. Counsel shall notify the courtroom deputy at least a week in advance if the services
      of an interpreter will be required for a hearing or for trial.

      This order supersedes any local rule of court or any order on final pretrial conference entered in
      these actions.

      Dated this 26th day of August, 2008.
                                                       BY THE COURT:
                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge




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